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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )           8:05CR138
                      Plaintiff,                    )
                                                    )
       vs.                                          )              ORDER
                                                    )
GUSTAVO AMBRIZ-SALDANA,                             )
LUIS MELENA GARCIA, and                             )
ELVIA MONICA FELIX-SIQUEIROS,                       )
                                                    )
                      Defendants.                   )
       This matter is before the court on the motion to continue trial by defendant Gustavo
Ambriz-Saldana (Ambriz-Saldana) (Filing No. 27). Ambriz-Saldana seeks a continuance of
the trial past July 11, 2005. Defense counsel represents to the court that counsel for the
government has no objection to the extension. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Ambriz-Saldana's motion to continue trial (Filing No. 27) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for August 8, 2005,
before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between June 3, 2005 and August 8, 2005, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 3rd day of June, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
